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Naomi Jane Gray (SBN 230171) a EE

SHADES OF GRAY LAW GROUP, P.C. 5 se

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Mill Valley, California 94941 ___ SUSAI (

Tel: (415) 746-9260 | Fax: (415) 968-4328 NORTH DISTRICT OF GAGSOENIA
ngray(@shadesofgray.law OAKLAND OFFICE

 

Attorneys for Plaintiff
Recording Industry Association of America, Inc.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

RECORDING INDUSTRY ASSOCIATION ) enn. __
OF AMERICA, INC., )
Plaintiff, ) DECLARATION OF
) MARK McDEVITT
vs. ) IN SUPPORT OF ISSUANCE
) OF SUBPOENA PURSUANT TO
CLOUDFLARE, INC., ) 17 U.S.C § 512(h)
)
Defendant. )
)

 

I, MARK McDEVITT, the undersigned, declare that:

I. Iam a Senior Vice President, Online Content Protection for the Recording
Industry Association of America, Inc. (RIAA). The RIAA is a trade association whose member
companies create, manufacture or distribute sound recordings. The RIAA is authorized to act on
its member companies’ behalf on matters involving the infringement of their copyrighted video
and sound recordings.

2. The RIAA is requesting the attached proposed subpoena that would order
Cloudflare, Inc. to disclose the identities, including names, physical addresses, IP addresses,
telephone numbers, e-mail addresses, payment information, account updates and account
histories of the users operating the following websites:

Blackpink — Kill This Love
https://1337x.to/torrent/3690467/BLACKPINK-KILL-THIS-LOVE-2019-EP/

 

 

 

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Fifth Harmony — Fifth Harmony
https://1337x.to/torrent/2396535/Fifth-Harmony-Fifth-Harmony-2017/

Bruno Mars — 24K Magic
https://1337x.to/torrent/1894021/Bruno-Mars-24K-Magic-2016/

Mac Miller — Circles
https://www.pluspremieres.to/2020/01/mac-miller-circles.html?i=73873087

Big Sean — Wolves (feat. Post Malone)
https://www.pluspremieres.to/2020/09/big-sean-wolves-feat-post-malone-
single. html?i=3 1542531

Gavin DeGraw — Sweeter
https://www.pluspremieres.to/201 1/09/gavin-degraw-sweeter.html?i=72592445

Childish Gambino — Warlords
https://thesource.to/forum/index. php?threads/selling-my-vault.68/

A Boogie Wit Da Hoodie — Swervin (feat. Veysel)
https://ddownload.com/0fc12noj2auv

Coi Leray - Better Days (feat. Fetty Wap)
https://ddownload.com/whbp8rjap1k4k

Bryson Tiller — Inhale
https://ddownload.com/crsaammaqdns3?dlI=PPE45HpQ

Lady Gaga — Fun Tonight
https://hiphopde.com/lady-gaga-fun-tonight/

Jason Derulo — Coincidence
https://hiphopde.com/jason-derulo-coincidence/

John Legend — Bigger Love
https://hiphopde.com/album-john-legend-bigger-love/

Eddie Money — I Wanna Go Back
https://ontiva.com/en/watch?v=o0JqC2UDpoE

Katrina & The Waves — Walking on Sunshine
https://ontiva.com/en/watch?v=iPUmE-tne5U

The B-52’s — Love Shack
https://ontiva.com/en/watch?v=9SOryJvTAGs

 

 

 

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The Killers - Dying Breed
https://anonfiles.com/JfjfBfNco0/The_ Killers - Dying Breed_-
_DownloadMusicasGratis.online_mp3

Popcaan - Twist & Turn (feat. Drake & Partynextdoor)
https://anonfiles.com/h76eW5Kco0/04_TWIST_TURN_feat. Drake PARTY_mp3

Beyoncé - The Lion King: The Gift
https://anonfiles.com/X2u3rbJ lob

Taylor Swift —We Are Never Ever Getting Back Together
https://audioz.download/samples/multitrack/135418-download_taylor-swift-we-are-
never-ever-getting-back-together-remix-stems.htm]

One Direction — Steal My Girl
https://audioz.download/samples/multitrack/77270-download_one-direction-steal-my-
girl-multitrack-ffs.html

Dua Lipa — Last Dance
https://audioz.download/samples/multitrack/138344-download_dua-lipa-last-dance-
remix-stems.html

Jason Derulo — Take You Dancing
https://www.dirrtyremix.es/post/remixes-jason-derulo-take-you-dancing/

Zara Larsson — Love Me Land
https://www.dirrtyremix.es/post/remixes-zara-larsson-love-me-land/

Camila Cabello - Camilla
https://www.discografiaspormega.com/discografia-camila-cabello-mega-completa/

Pablo Alboran - Pablo Alboran
https://www.discografiaspormega.com/discografia-pablo-alboran-mega/

Sasha S6kol — Diamante
https://www.discografiaspormega.com/discografia-sasha-sokol-mega-completa/

Alexander 23 — Caught in the Middle
hitp://douploads.net/1190qtj6nk6c_

24kGoldn — Mood (feat. Iann Dior)
https://douploads.net/kow2kh02auo1

Burna Boy — Pull Up
hitps://www.ghanamotion.com/burna-boy-pull-up/

WizKid — Master Groove
https://www.ghanamotion.com/wizkid-master-groove/

 

 

 

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Khalid — My Bad
https://hd24bit.com/57367-khalid-my-bad-2019-single.html

Drake — Toosie Slide
https://hd24bit.com/96690-drake-toosie-slide-2020-hi-res-stereo-single.html

Dua Lipa — Break My Heart
https://hd24bit.com/99609-dua-lipa-break-my-heart-2020-hi-res-stereo-single.html

Bankrol Hayden - Pain Is Temporary
http://hexupload.net/ucqcm5 9mxjfc

Pop Smoke - Aim For The Moon
http://hexupload.net/hgikgqwuhi3v

Joey Bada$$ - The Light Pack
http://hexupload.net/q0h2eifjjh9o0.html

Reba McEntire — Rumor Has It
https://intmusic.net/169189/reba-mcentire-rumor-has-it-30th-anniversary-edition-2020

Black Eyed Peas - Translation
https://intmusic.net/160357/the-black-eyed-peas-translation-2020

Eagles — Legacy
https://intmusic.net/824 1 5/eagles-legacy-2018

Alicia Keys — Love Looks Better
http://www7.iplusfree.org/alicia-keys-love-looks-better-pre-single-itunes-plus-aac-m4a/

David Guetta & Sia - Let’s Love
http://www7.iplusfree.org/david-guetta-sia-lets-love-single-itunes-plus-aac-m4a/

Big Sean — Detroit 2 |
http://www7iplusfree.org/big-sean-detroit-2-itunes-plus-aac-m4a/

Benjamin Orr — Stay the Night
https://listentoyoutube.online/v9/?y outube-url=https://youtu.be/2ySLmwsfP4Q

Daryl Hall & John Oates — Out of Touch
https://listentoyoutube.online/v9/?youtube-url=https://youtu.be/DCkJ5IGPqFs

Baltimora — Tarzan Boy
https://listentoyoutube.online/v9/?youtube-url=https://youtu. be/xkmgevrSEzc

_ Drake — Laugh Now Cry Later (feat. Lil Durk)

https://mp3 global.org/download/drake-laugh-now-cry-later-ft-lil-durk/

 

 

 

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Doja Cat - Freak
https://mp3 global .org/download/doja-cat-freak/

Cardi B - WAP (feat. Megan Thee Stallion)
https://mp3 global.org/download/cardi-b-wap-ft-megan-thee-stallion/

Banda Jerez - Dicen que Soy Borracho
http://musiconworldoffmx.com/discografia-banda-jerez-mega/

fu-Lu
http://musiconworldoffmx.com/discografia-lu-mega/

Shakira - Pies Descalzos
http://musiconworldoffmx.com/discografia-shakira-mega/

Harry Styles - Adore You
https://muzobzor.ru/clip?id=VF-r5TtlT9w

Cardi B - Money
https://muzobzor.ru/clip?id=Zj2cK8wymlA

Drake - Energy
https://muzobzor.ru/clip?id=7LnB vuzjpr4

Cardi B— Get Up 10
https://www1_.naijaonpoint.com/mp3-cardi-b-get-up-10/

Doja Cat — Bottom Bitch
https://www/1 .naijaonpoint.com/mp3-doja-cat-bottom-bitch

Drake - Practice
https://www 1 .naijaonpoint.com/mp3-drake-practice/

Alicia Keys — Alicia
https://newalbumreleases.net/150536/alicia-keys-alicia-2020/

Ed Sheeran — No. 6 Collaborations Project
https://newalbumreleases.net/130102/ed-sheeran-no-6-collaborations-project-2019/

Billie Eilish - When We All Fall Asleep, Where Do We Go?
https://newalbumreleases.net/128943/billie-eilish-when-we-all-fall-asleep-where-do-we-
go-2019/

Blanco — Anakin
https://www.ngleakers.co/2020/09/blanco-anakin-mp3.html

David Guetta & Sia - Let’s Love
https://www.ngleakers.co/2020/09/david-guetta-sia-lets-love-mp3.htm]

 

 

 

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Bring Me The Horizon — Obey (with Yungblud)
https://www.ngleakers.co/2020/09/bring-me-horizon-obey-with-yungblud-mp3.html

Dua Lipa — Break My Heart

Drake — Laugh Now Cry Later
http://rlsbb.ru/va-billboard-hot-100-singles-chart-19-09-2020/.

Drake - Laugh Now Cry Later
https://mbxclusive.vip/drake-laugh-now-cry-later-feat-lil-durk-cdq-itunes/

Ed Sheeran - South of the Border
https://mbxclusive. vip/ed-sheeran-south-of-the-border-feat-camila-cabello-acoustic-cdq-
itunes/

Little Mix — Holiday
hitps://mbxclusive.vip/little-mix-holiday-cdq-itunes/

Dua Lipa — Future Nostalgia
https://sanet.ws/blogs/musiclove/dua_lipa_future_nostalgia_flac.3301598.html

Drake — God’s Plan
https://sanet.ws/blogs/musicsazoon/drake_essentials.3291090-html

Harry Styles — Fine Line
https://sanet.ws/blogs/delpotromusic/harry_styles_fine_line_cd_rip.3285436.html

Dua Lipa — Physical (feat. Hwa Sa)
https://songslover.cam/tracks/dua-lipa-physical-feat-hwasa.html

Harry Styles — Fine Line —
https://songslover.cam/albums/harry-styles-fine-line.html

Drake — Laugh Now Cry Later (feat. Lil Durk)
hitps://songslover.cam/tracks/drake-laugh-now-cry-later-feat-lil-durk.htm]

Dua Lipa — Break My Heart
Drake — Laugh Now Cry Later
http://rlsbb.to/va-billboard-hot-100-singles-chart-12-09-2020/

Drake - Headlines
https://www.torrentdownloads.me/torrent/1653 187014/Drake---Headlines-mp4

Ed Sheeran - Divide
https://www.torrentdownloads.me/torrent/1662858637/Ed-Sheeran---DIVIDE-
%28Deluxe%29-%282017%29-%5BMp3%7E320kbps%5D

 

 

 

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One Direction - One Thing
https://www.torrentdownloads.me/torrent/1653527957/One-Direction---One-Thing-mp4

Big Sean — Detroit 2
https://www.xclusivejams.nl/album-big-sean-detroit-2-itunes-plus-aac-m4a-61110.html

Madonna — Human Nature
https://www.xclusivejams.nl/madonna-human-nature-itunes-plus-m4a-60986.html

Little Mix - Holiday
https://www.xclusivejams.nl/little-mix-holiday-single-itunes-plus-aac-m4a-59728.html

Shawn Mendes - Stitches
https://zoop.su/dl/3Z9Fiv7-yTOCeL-
vM YhAswkQ&s=3wq/Shawn%20Mendes,%20Amice%20-%20Stitches

Doja Cat — So High
https://zoop.su/dl/3 ZDQiwJqZ3e0SdcPex2kroKw&s=3wq/Doja%20Cat%20-
%20S0%20High%20(San%20Holo%20Remix)

Wiz Khalifa — Work Hard, Play Hard
https://zoop.su/dl/3Zn6dFUUL4JHRS5wOV g0ilelQ&s=3 wq/Wiz%20Khalifa%20-
%20Work™%20Hard,%20Play%20Hard

Taylor Swift - Ready For It
https://notube.net/en/download?token=99fc0363da3 bf9e89 1 lee2c801ac2629

Janelle Monde - Turntables
https://notube.net/en/download?token=d7846530b262ff1 2£c670334aa77337b

Laura Branigan — Self Control
https://notube.net/en/download?token=da226c94a54c179a7d730b7b683caae3

Drake - In My Feelings
https://alegemuzica.top/detalii/drake-in-my-feelings-vavo-steve-reece-remix.html]

Ed Sheeran - Shape of You
https://alegemuzica.top/detalii/ed-sheeran-shape-of-you-claudio-cristo-yves-latroa-
remix.html

ASAP Ferg- Trap Lord
https://alegemuzica.top/detalii/asap-ferg---trap-lord-2013-album-original.html

Dua Lipa - Future Nostalgia
https://topmusic.uno/dua-lipa-club-future-nostalgia-2020/

Mariah Carey - Always Be My Baby
https://topmusic.uno/mariah-carey-always-be-my-baby-ep-remastered-2020/

 

 

 

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Taylor Swift — Folklore: The Escapism Chapter
https://topmusic.uno/taylor-swift-folklore-the-escapism-chapter-ep-2020/

Tears For Fears — Head Over Heels
https://www.y2mate.com/youtube/CsHiG-43Fzg

‘Til Tuesday — Voices Carry
https://www.y2mate.com/youtube/uejh-bHa4To

Chaka Khan — Through the Fire
https://www.y2mate.com/youtube/Tj Wmw-8-OEk

Laura Branigan — Gloria
https://www.youtubeconverter.io/convert?query=https%3A%2F%2F www.youtube.com
%2Fwatch%3Fv%3DnNEb2k_ EmMg

Exposé — Come Go With Me
https://www. youtubeconverter.io/convert?query=https%3A%2F%2F www.youtube.com
%2F watch%3Fv%3 DSGBAVIFfUA

Paula Abdul — Vibeology

https://www.youtubeconverter.io/convert?query=https%3A %2F%2F www.youtube.com

%2Fwatch%3Fv%3Dib01_vWRpx0

3. The purpose for which this subpoena is sought is to obtain the identities of the
individuals assigned to these websites who have reproduced and have offered for distribution our
members’ copyrighted sound recordings without their authorization. This information will only
be used for the purposes of protecting the rights granted to our members, the sound recording
copyright owner, under Title II of the Digital Millennium Copyright Act.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.

Executed at Washington, District of Columbia, on September 24, 2020.
BY FAX

AU ups

Mark McDevitt

 

 

 

 

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